      Case 3:16-cr-00282-K    Document 125        Filed 10/05/16   Page 1 of 1   PageID 233

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           §          CASE NO.: 3:16-CR-282-K (10)
                                              §
JOHN WILLIS SMITH                             §

             ORDER ACCEPTING REPORT AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE
                      CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the defendant, and the Report and Recommendation

Concerning Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen days of service in accordance with 28 U.S.C. § 636(b)(1),

the undersigned District Judge is of the opinion that the Report and Recommendation of the

Magistrate Judge concerning the Plea of Guilty is correct, and it is hereby accepted by the

Court. Accordingly, the Court accepts the plea of guilty and Plea Agreement and the

Defendant is hereby adjudged guilty. Sentence will be imposed in accordance with the

Court’s scheduling order.

        SO ORDERED.

        Signed October 5th, 2016.




                                                  ED KINKEADE
                                                  UNITED STATES DISTRICT JUDGE
